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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                              CASE NO. 1:02-cr-00029-MP-AK
                                                                         1:06-cr-00041-MP-AK

RAYMOND REED, JR.,

      Defendant.
________________________________/

                                            ORDER

       This matter is before the Court on an in-court hearing held on Wednesday, May 16,

2007, for determination of counsel as to Defendant Raymond Reed. At the hearing, Defendant

Reed stated that he still had not hired a lawyer, and that he was not ready to proceed to trial or to

represent himself. Although Defendant stated that his entire family was attempting to raise

money to hire an attorney for him, Defendant named only one family member that he has spoken

with about this issue–his godsister Adama Harding. In order for the Court to determine the

status and likelihood of Defendant retaining counsel, Defendant is ordered to file with the Court,

no later than Monday, May 21, 2007, the full name, address, and telephone number of Adama

Harding. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       Defendant shall file the full name, address, and telephone number of Adama Harding no
       later than Monday, May 21, 2007.

       DONE AND ORDERED this              16th day of May, 2007


                                        s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
